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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

MIESA BLAND AND CLAUDIA MORENO,                   §
ON BEHALF OF THEMSELVES AND                       §
ALL OTHERS SIMILARLY SITUATED,                    §
                                                  §
              Plaintiffs,                         §
                                                  §      Civ. No. 5:14-CV-138
V.                                                §
                                                  §      JURY DEMANDED
                                                  §
BALFOUR BEATTY                                    §
COMMUNITIES LLC,                                  §
                                                  §
              Defendants.                         §

                            PLAINTIFFS’ ORIGINAL COMPLAINT

       Plaintiff Miesa Bland (“BLAND”) and Plaintiff Claudia Moreno (“MORENO”), on

behalf of themselves and all others similarly situated (collectively “PLAINTIFFS”), file this

Original Complaint against Defendant Balfour Beatty Communities, LLC (“BALFOUR”) and

would show the Court as follows:

                              I.   PRELIMINARY STATEMENT

1.     This lawsuit seeks damages against Defendant BALFOUR for violations of the Fair

Labor Standards Act (“FLSA”), as amended. BLAND and MORENO, on behalf of themselves

and all other similarly situated employees, seek to recover unpaid wages, unpaid overtime,

statutory liquidated damages, and reasonably attorneys’ fees.       Moreover, BLAND and

MORENO seek to certify this matter as a collective action under the FLSA.




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                                         II.     PARTIES

2.     Plaintiff BLAND is an individual residing in Bexar County, Texas.

3,     Plaintiff MORENO is an individual residing in Bexar County, Texas.

4.     Defendant BALFOUR is a Texas Corporation and may be served through its registered

agent for service process, Corporation Service Company d/b/a CSC-Lawyers Incorporating

Service Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701-4234. At all times during

BLAND’S, MORENO’S and the similarly situated employees’ employment, Defendant

BALFOUR was the employer of BLAND, MORENO and the similarly situated employees as

defined by 29 C.F.R. § 791.2.

                             III.    JURISDICTION AND VENUE

5.     This Court has jurisdiction pursuant to § 16(b) of the FLSA, 29 U.S.C. § 216(b), which

provides, “An action to recover liability prescribed in either of the preceding sentences may be

maintained against any employer . . . in any federal or state court of competent jurisdiction by

any one or more employees for and on behalf of himself and themselves and other employees

similarly situated.” In addition, this Court has jurisdiction over the subject matter under 28

U.S.C. § 1331 because the claims arise under laws of the United States.

6.     Venue is proper pursuant to 28 U.S.C. § 1391 (b) because a substantial part of the events

or omissions giving rise to the claim occurred in this District.




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           IV.     FACTUAL ALLEGATIONS IN SUPPORT OF FLSA CLAIMS

7.      At all times hereinafter mentioned, Defendant BALFOUR has been an employer and/or

enterprise engaged in commerce within the meaning of the FLSA. Defendant BALFOUR has

employees engaged in interstate commerce. Defendant BALFOUR has an annual gross volume

of sales made or business done of not less than $500,000. In addition, at all times hereinafter

mentioned, BLAND, MORENO and the similarly situated employees were employees of

Defendant BALFOUR and were engaged in commerce on behalf of Defendant BALFOUR as

required by 29 U.S.C. §§ 206-207.

8.      Defendant BALFOUR employs personnel like, BLAND, MORENO and the similarly

situated employees, as Resident Specialists to provide customer service to military residents

and/or potential residents on its properties. Said employees are assigned to either a 8 a.m. to 5

p.m. shift or a 9 a.m. to 6 p.m. shift.

9.      Defendant BALFOUR employed BLAND from December 2011 to on or about May

2013.

10.     Defendant BALFOUR employed MORENO from on or about August 6, 2006 to on or

about September 29, 2013.

11.     When BLAND, MORENO and similarly situated employees worked over 40 hours per

week, Defendant BALFOUR would not properly compensate said employees for hour worked

over 40 hours per week.

12.     For example, Defendant BALFOUR required BLAND, MORENO and similarly situated

employees to clock in and out at the beginning and end of their designated “shift” even though

they were required to work prior to and after their designated shifts.




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13.    Moreover, when BLAND, MORENO and similarly situated employees performed

mandatory duties and/or attended mandatory training outside of their normal shift hours,

Defendant BALFOUR would not compensate them for the time worked and would not calculate

said hours into their weekly hours worked.

14.    In addition, Defendant BALFOUR’S management personnel adjusted the hours worked

by BLAND, MORENO and similarly situated employees to reflect that the employee had

worked less overtime hours than what was actually worked by the employee stating that they did

not want to get in trouble for not obtaining approval to allow the employee to work overtime.

15.    Defendant BALFOUR failed to make, keep, and preserve accurate records with respect to

BLAND, MORENO and the putative class members, including actual hours worked each

workday and total hours worked each workweek, as required by 29 U.S.C. § 211(c), and

supporting federal regulations.

                   V. CAUSE OF ACTION—FLSA-OVERTIME WAGES

16.    The preceding paragraphs are incorporated by reference herein for all purposes.

17.    The overtime wage provisions set forth in the FLSA, 29 U.S.C. §§ 201 et. seq., and the

supporting federal regulations, apply to Defendant BALFOUR and protect BLAND, MORENO

and the putative class members.

18.    Defendant BALFOUR failed to pay BLAND, MORENO and the putative class members

overtime wages at time-and-a-half for hours that they worked over 40 hours in a workweek.

19.    As a result of Defendant BALFOUR’s unlawful acts, BLAND, MORENO and the

putative class members have been deprived of overtime compensation in amounts to be

determined at trial, and are entitled to recovery of such amounts, liquidated damages,

prejudgment interest, attorneys’ fees, costs, and other compensation pursuant to the FLSA.




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20.    Defendant BALFOUR’s unlawful conduct has been willful and intentional. Defendant

BALFOUR was aware or should have been aware that the practices described herein are

unlawful. Defendant BALFOUR has not made a good faith effort to comply with the FLSA with

respect to the compensation of BLAND, MORENO and the putative class members.

21.    Because Defendant BALFOUR’s violations of the FLSA have been willful, a three-year

statute of limitations applies, pursuant to 29 U.S.C. § 255.

                  VI. COLLECTIVE ACTION UNDER 29 U.S.C. § 216(b)

22.    The preceding paragraphs are incorporated by reference herein for all purposes.

23.    Pursuant to Section 16(b) of the FLSA, BLAND and MORENO bring this Complaint as a

collective action, on behalf of themselves and all persons similarly situated who consent to join

this litigation by filing a written consent with the Court and who also agree to be represented by

Plaintiffs’ counsel, such persons making claims under the FLSA for the three years preceding the

filing of this Complaint or the filing with the Court of each such person’s written consent to

joinder until entry of judgment after trial. See Exhibit A and B attached hereto and incorporated

by reference.

24.    Defendant BALFOUR had a common policy of not compensating non-exempt employees

for off-the-clock hours. As a result of this common policy or scheme, Defendant BALFOUR

wrongfully denied non-exempt personnel of overtime for all hours worked in excess of forty in a

workweek. Therefore, the Court should certify a collective action of all current and former non-

exempt personnel who were not compensated for off-the-clock hours worked at any time during

the three years preceding the filing of this Original Complaint. Plaintiffs are informed and

believe, and based thereon, allege that there are other FLSA class members who could “opt-in”

to this class, the actual number of FLSA class members is readily ascertainable by a review of




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Defendant BALFOUR’s records through appropriate discovery, and BLAND and MORENO

propose to take proceedings in this action to have such persons notified of this litigation and

given an opportunity to file written consents to join this litigation.

                                              PRAYER

25.     BLAND and MORENO, on behalf of themselves and all similarly situated employees,

respectfully request that the Court certify this case as a collective action under the Fair Labor

Standards Act and order court-supervised notice to the class and further demands judgment

against Defendant BALFOUR for the following:

        (a) actual and liquidated damages for unpaid overtime wages under the Fair Labor
            Standards Act, as amended;

        (b) liquidated damages as provided by the statute;

        (c) reasonable attorney’s fees under the Fair Labor Standard Act;

        (d) pre-judgment and post-judgment interest as provided by law;

        (e) all costs of court; and

        (f) any other relief to which BLAND, MORENO and the members of the class may be
            entitled, whether in law or equity.

                                       JURY TRIAL DEMAND

        BLAND and MORENO, on behalf of themselves and members of the class, demand a

jury trial on all issues so triable.




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                                 Respectfully submitted,

                                 /s/ Melissa Morales Fletcher_
                                 MELISSA MORALES FLETCHER
                                 Attorney-in-Charge
                                 State Bar No. 24007702
                                 MELISSA MORALES FLETCHER, P.C.
                                 115 E. Travis, Suite 1530
                                 San Antonio, Texas 78205
                                 Phone:         (210) 225-0811
                                 Facsimile:     (210) 225-0821


                                 /s/ Lawrence Morales II_______________
                                 LAWRENCE MORALES II
                                 The Morales Firm P.C.
                                 State Bar No. 24051077
                                 115 E. Travis, Suite 1530
                                 San Antonio, Texas 78205
                                 Telephone No. (210) 225-0811
                                 Telecopier No. (210) 225-0821

                                 ATTORNEYS FOR PLAINTIFFS




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